8:02-cr-00238-JFB-TDT       Doc # 318      Filed: 07/12/05     Page 1 of 1 - Page ID # 2553




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                    8:02CR238
                                              )
      vs.                                     )                    ORDER
                                              )
DONALD H. ASAY,                               )
TERRY J. SAMOWITZ,                            )
GREGORY W. ENGER and                          )
DONALD A. HEIDEN,                             )
                                              )
                     Defendants.              )


      This matter is before the court on the response of Allergan, Inc., to the court’s order to
show cause (Filing Nos. 316 and 317). Counsel for defendant Samowitz shall file a reply to
Allergan’s response on or before July 25, 2005.
      IT IS SO ORDERED.
      DATED this 12th day of July, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
